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                         MARK CONKLIN
     STATE OF NEW YORK
     UNITED STATES DISTRICT COURT
     WESTERN DISTRICT OF NEW YORK
     ----------------------------------------
     CHRISTIAN POWELL,

                                      Plaintiff,

                             - vs -       Index Number
                                          21-CV-00721

     CITY OF JAMESTOWN,
     CITY OF JAMESTOWN CLERK,
     JAMESTOWN POLICE DEPARTMENT,
     JAMESTOWN POLICE CHIEF TIMOTHY JACKSON,
     COUNTY OF CHAUTAUQUA,
     CHAUTAUQUA COUNTY SHERRIFF'S OFFICE,
     CHAUTAUQUA COUNTY SHERRIFF JAMES B. QUATTRONE,
     CHAUTAUQUA COUNTY UNDERSHERRIFF DARRYL W. BRALEY,
     JOHN DOES 1-10, said names being fictitious
     but intended to be any other individual/officers
     involved in the within incident and employees
     of the CITY OF JAMESTOWN and/or JAMESTOWN POLICE
     DEPARTMENT in their individual and official
     capacities,
     and JOHN DOES 1-10, said names being fictitious
     but intended to be any other individual/officers
     involved in the within incident and employees
     of the COUNTY OF CHAUTAUQUA and/or CHAUTAUQUA
     COUNTY SHERRIFF'S OFFICE in their individual and
     official capacities,

                            Defendants.
     ----------------------------------------

                  Examination before trial of MARK CONKLIN,

     taken pursuant to Federal Rules, via virtual

     teleconference, on August 16, 2023, commencing at

     3:03 p.m., before PATRICK MCLAUGHLIN, Notary

     Public.


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  1   APPEARANCES:           SHAW & SHAW, P.C.
                             BY BLAKE ZACCAGNINO, ESQ.
  2                          4819 South Park Avenue
                             Hamburg, New York 14075
  3                          Appearing for the Plaintiff.

  4                          CORPORATION COUNSEL
                             CITY OF JAMESTOWN
  5                          BY ELLIOT S. RAIMONDO, ESQ.
                             200 East Third Street
  6                          Jamestown, New York 14701
                             Appearing for the City of Jamestown
  7                          and affiliated Defendants.

  8                          HANCOCK ESTABROCK LLP
                             BY MARY L. D'AGOSTINO, ESQ.
  9                          100 AXA Tower
                             100 Madison Street
 10                          Syracuse, New York 13202
                             Appearing for the City of Jamestown
 11                          and affiliated Defendants.

 12

 13

 14

 15             (STIPULATIONS:        Waive filing of

 16             the transcript, waive Oath of the Referee,

 17             reserve all objections until trial, with

 18             exception of objections as to form.)

 19

 20

 21

 22

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  2   EXHIBITS:                                                    PAGE:

  3   PLAINTIFF'S        Jamestown Police                              4
      EXH. E             Department General Order
  4                      4.05.01. One Page.

  5                                 *****

  6
      EXAMINATIONS:                                                PAGE:
  7
      BY MR. ZACCAGNINO                                                4
  8   BY MS. D'AGOSTINO                                               52

  9                                 *****

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  1             The following was marked for Identification:

  2             PLAINTIFF'S EXH. E              Jamestown Police

  3                                Department General Order

  4                                4.05.01.      One Page.

  5             MR. ZACCAGNINO:        The witness's identity is

  6   Mark, M-A-R-K, Conklin, C-O-N-K-L-I-N.

  7             MS. D'AGOSTINO:        Reserve read and sign.

  8   Yes, please.

  9             THE REPORTER:     Any objection to the remote

 10   notarization?

 11             MR. RAIMONDO:     Not from the city.

 12             MR. ZACCAGNINO:        No.

 13

 14   M A R K        C O N K L I N, 201 East Second Street

 15   Jamestown, New York 14701, after being duly called

 16   and sworn, testified as follows:

 17

 18             EXAMINATION BY MR. ZACCAGNINO:

 19

 20             Q.      Hi, Officer.     I'm Blake Zaccagnino.           I

 21   represent Christian Powell.            He was involved in a

 22   few incidents with the Jamestown police back in

 23   December of 2020.


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  1           The first thing I want to ask you was:                     Do

  2   you want me to call you officer or is there any way

  3   you prefer I address you?

  4           A.     No preference.          Whatever works easier

  5   for you.

  6           Q.     Okay.    Perfect.        The -- just a couple

  7   quick points I wanted to make.             I just want to make

  8   sure you understand my questions.

  9           If you don't, that's completely fine.                  I

 10   might be confusing or, you know, talk too fast.                         So

 11   please let me know, and I could rephrase.

 12           And if we could just have one person talking

 13   at a time, because on -- on the Zoom, it's hard

 14   because there's, like, a slight delay, so just to

 15   make sure everything is transcribed.                Okay?

 16           A.     Understood.

 17           Q.     Okay.    Perfect.        And I -- I have a

 18   number of questions for you in the beginning, you

 19   know, just about your training and your education

 20   and your background.

 21           So you know, I'll kind of direct you to the

 22   time frame on that, but you know, if I ask you

 23   about a policy or procedure or how you would do


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  1   things, I'm generally interested in how things were

  2   back around the time of the incident, so December

  3   of 2020, if that's okay.

  4           A.     Okay.

  5           Q.     Okay.    Perfect.       I was wondering if you

  6   could just briefly -- it doesn't have to be

  7   anything crazy or extensive -- take us through your

  8   education and training you've received maybe from

  9   high school until now.

 10           A.     Okay.    I graduated from Jamestown High

 11   School here in Jamestown, New York, class of 2013.

 12           Later on, I attended the Jamestown Community

 13   College.     I obtained enough credits to enter the

 14   Chautauqua County Sheriff's Academy and, from

 15   there, I went from the Chautauqua County Sheriff's

 16   Academy and graduated in June of 2017.

 17           Q.     And where did you work -- where did you

 18   work after that?

 19           A.     Right after the academy, I was hired

 20   for the Town of Busti, New York Court and then the

 21   City of Jamestown Court.         In around September of

 22   2017, I was hired at both places around September

 23   of 2017.


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  1            Q.    And what did you do at the Town of

  2   Busti, did you say?        Like, what was -- what were

  3   your day-to-day duties when you worked for them?

  4            A.    So it was just a part-time job, a

  5   couple days a week, I would go there for evening

  6   courts, basically get the court documents ready for

  7   the night, put them out for the judge, and then

  8   also provide security to the judge and the court

  9   staff.

 10            Q.    And then you said after that, you went

 11   to the City of Jamestown Court?

 12            A.    Yes.

 13            Q.    And what did you do for them at the

 14   City of Jamestown Court?

 15            A.    It's similar duties, except it's a

 16   larger jurisdiction.        We did front-lobby security

 17   where we scanned people in, made sure there was no

 18   weapons being brought inside the building, provide

 19   protection to the judge and the court staff and

 20   assist with court proceedings and assist that the

 21   court be run smoothly.

 22            Q.    And then at one point, you were hired

 23   as a -- as a police officer at the City of


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  1   Jamestown?

  2           A.     Yes.    Well, first, I was hired for the

  3   Village of Fredonia, New York, Police Department

  4   part time as a police officer in April of 2019.

  5           I did that for a few short months, and then

  6   on June 13th of 2019, I officially started as a

  7   police officer with the City of Jamestown.

  8           Q.     And can you take us through your -- any

  9   sort of training that you got when you first

 10   started with the City of Jamestown as a police

 11   officer in 2019?

 12           A.     Yes.    I was taken through field

 13   training with the Jamestown Police Department.                   I

 14   believe it's a 12-week, field-training program.

 15           Q.     What was involved in that?

 16           A.     Just everything related to the job

 17   pertaining to being a police officer in the City of

 18   Jamestown and the procedures on how things are done

 19   in the City of Jamestown.

 20           Q.     And then did you mention that -- that

 21   there was some additional training that you got

 22   beyond that?

 23           A.     With the City of Jamestown?


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  1           Q.     Yes.

  2           A.     So that would be the field training.

  3           Q.     Okay.    Okay.    And then what was the --

  4   or what was involved in the field training?                  Like,

  5   were you -- were you partnered up with a more

  6   experienced officer that would then take you

  7   through and then shadow -- you know, who would

  8   pretty much work with you?

  9           A.     Yes.    I was partnered up with a

 10   field-training officer, and there's a whole

 11   continuum on, you know, what needs to be -- what

 12   needs to be learned throughout that field training.

 13           Q.     And -- and in 2019, when you started on

 14   as a police officer at Jamestown, can you just take

 15   us through what a typical day would look like?

 16           A.     During field training, I was training

 17   on day shift.      So I'd do 7:00 a.m. to 3:00 p.m..

 18           I would come in, and it would just start as

 19   you would shadow your field training officer and

 20   see how he or she does the job.            And then it would

 21   progress.

 22           You would be more responsible for actually

 23   handling the calls and procedures that -- as a


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  1   police officer.

  2            Q.    Okay.     And were you primarily -- back

  3   in 2020, were you primarily on road patrol or would

  4   you be in the jail?

  5            A.    In 2020, it's -- so all patrol officers

  6   have a rotation in the city jail.              So I was a

  7   patrolman, but I also had my turn in the jail.

  8            Q.    And what sort of duties or activities

  9   did you have to do when you were on duty at the

 10   jail?

 11            A.    Book prisoners, fingerprints,

 12   photographs, maintain order in the jail.

 13            Q.    Can you tell us about any sort of

 14   training that -- training or experience that you've

 15   had in inmate supervision in general?

 16            A.    Yeah.     So when somebody enters the

 17   jail, it usually would be screened, like a suicide

 18   screening.

 19            Based on the results of that screen, they

 20   would be either placed on constant watch or put in

 21   the normal cell which would be, you know, just

 22   periodic checks every 30 minutes.

 23            So based on one, either the results of


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  1   the -- I'm sorry.        There's a bit of background

  2   noise.

  3            So based on either the results of the

  4   suicide screening or if the officer -- if the

  5   transporting officer advised that the person was

  6   already on constant watch, they would be placed on

  7   constant watch so we could observe them throughout

  8   the night.

  9            Q.    And what's the reason -- what are the

 10   main reasons why someone would be on constant

 11   watch?

 12            A.    It could be, basically, aggressive.

 13   They could be suicidal.         They could have a past

 14   suicide attempt within the prior one year.

 15            They could be under the influence of

 16   alcohol; drugs; you know, emotionally, mentally

 17   unstable.     Things like that.

 18            Q.    And does any -- is there any reason

 19   that comes into play on why someone would be on

 20   constant observation, you know, that involves

 21   their -- either threats of self harm or actual

 22   actions of harming themselves?

 23            A.    Yes.


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  1            Q.    Can you tell us about any sort of

  2   experiences that you've had with that, where you've

  3   been working at the jail or on patrol and you're

  4   dealing with an inmate that is either threatening

  5   self harm or actually taking actions to harm

  6   themselves and how you handle that situation?

  7            A.    Yeah.     So if anybody entered the jail

  8   and they were threatening self harm or actually

  9   harming themselves, they would be immediately

 10   placed on constant watch once that information was

 11   gathered.

 12            Q.    And what sort of precautions are taken

 13   when someone is on constant watch?              For example,

 14   you know, someone -- some of the other officers

 15   talked about, like, a restraint chair.

 16            What sort of precautions are taken when

 17   someone's on constant watch to prevent self harm?

 18            A.    So there are a couple locations that

 19   you can put somebody on constant watch.                 All the

 20   locations would be easily visible to the jail

 21   officer at all times from the booking room.

 22            You can put the -- the arrestee on the

 23   booking bench, which is directly in front of the --


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  1   the jail desk.         Directly behind the booking bench,

  2   there's a window which goes into a single-cell

  3   tank.

  4            To the right of the booking desk, there is a

  5   hallway bench, which you can easily see prisoners.

  6   And then right by the hallway bench, there is a

  7   restraint chair.

  8            Q.    And is there -- is there anything like

  9   padded cells or, you know, protective helmets that

 10   you -- you put on inmates that might be, you know,

 11   thrashing or banging their head off walls or

 12   objects?

 13            A.    No.

 14            Q.    Have you experienced that either when

 15   on patrol or at the jail, inmates trying to hit

 16   their heads off the walls and off objects and

 17   things like that?

 18            A.    I can't really recall that.

 19            Q.    Okay.      And what sort of signs and

 20   symptoms do you -- I don't know if that's a good

 21   term, but what sort of signs and symptoms do you

 22   look out for in an inmate who -- that might be

 23   under -- or that might qualify to be under constant


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  1   watch?

  2            Is it threatening self harm or, you know,

  3   what sorts of things do you look out for?

  4            A.    That could be threats of self harm.                 It

  5   could be actively self harming themselves.                  It

  6   could be mentally, emotionally disturbed, under the

  7   influence of alcohol or drugs, aggressive.                  Things

  8   like that.

  9            Q.    And can you tell us what a 9.41 is?

 10            A.    Yeah.     So a mental health law 9.41

 11   is -- it's an order that the person be seen by a

 12   health professional.

 13            And there's two types of -- so 9.41 is for

 14   somebody that is suicidal or, you know, whether

 15   that be actively trying to, you know, commit

 16   suicide or speaking of thoughts of suicide or it

 17   could be self harm in any way.

 18            Q.    And then -- and now, from my

 19   understanding, there's a difference between someone

 20   that -- someone that can be classified as a 9.41

 21   that is not being charged with anything versus

 22   someone that's being charged with a crime and then

 23   is determined as a 9.41; is that true?


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  1            A.    Yes.    It just means that they have to

  2   see a mental health professional, you know -- maybe

  3   not immediately, but in a timely manner.

  4            Q.    And like, would that be for the -- the

  5   inmate who -- or I'm sorry -- the person who is --

  6   who is charged with something?

  7            A.    So if somebody wasn't in the custody of

  8   us, they would be immediately brought to the --

  9   whatever local facility, which is UPMC Chautauqua.

 10            If they were incarcerated in our jail, they

 11   would either be -- they would be placed on constant

 12   watch if there was a 9.41 order until either their

 13   released or transferred to a county jail.

 14            Q.    And so generally, would that be -- if

 15   it's an inmate that's -- I'm sorry -- if it's

 16   someone that's arrested and is in Jamestown

 17   custody, they would be sent -- if they're 9.41,

 18   generally, the policy is they're sent after

 19   arraignment?

 20            A.    Yeah.     Depending on if they're

 21   released.     If they were released, they would be

 22   brought directly to the UPMC Chautauqua.                 If

 23   they're committed to the county jail, then the


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  1   county would actually provide a mental health

  2   service within their jail.

  3             Q.      And is -- are there any -- is there any

  4   medical staff at Jamestown booking?

  5             A.      Not in the booking, no.

  6             Q.      Did you receive any training in the

  7   process of becoming a police officer in mental

  8   health diagnoses and, you know, how to respond to

  9   people that might have mental health troubles?

 10             A.      Yes.    So the procedures would be --

 11   would have been discussed through field training

 12   and whatnot.

 13             Q.      And just what we talked about earlier

 14   about the screening and then what type of

 15   supervision that you would -- that you would

 16   provide them?

 17             A.      Yes.

 18             Q.      Okay.     And can you tell us, under -- in

 19   what circumstances would medical or EMS be called

 20   to address an inmate's need either during an arrest

 21   or at the jail?

 22             A.      There can be an apparent physical

 23   injury.        There can be complaint of a chest pain,


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  1   complaint of almost anything that would need to be

  2   looked at as far as, like, a physical injury by a

  3   medical health professional.

  4            Q.    And so generally, if -- and this could

  5   sound funny, but generally if medical is called or

  6   EMS is called to come look at either someone's

  7   that's at the jail that was injured at the jail or

  8   during the course of an arrest, generally it would

  9   be someone who the officer or -- someone at

 10   Jamestown would determine that they needed care,

 11   that they needed to be seen for treatment?

 12            A.    It could be the Jamestown Fire

 13   Department who responds.          It could also be ALSTAR

 14   EMS.    We don't really know who's going to come when

 15   we call.

 16            Q.    Okay.     And are there situations -- or

 17   I'm sorry.

 18            Is it the policy of Jamestown to, if an

 19   inmate sustains any injury -- for example, let's

 20   say an inmate stubs their toe or something, you

 21   know, is it a -- is it the policy that, whenever an

 22   inmate is injured in any fashion, that they -- that

 23   either EMS or medical professionals are called to


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  1   take a look at it since there's no medical staff at

  2   the facility or is there a certain level of injury

  3   that, you know, is -- would fit into that category?

  4            A.    I think it would be determined by the

  5   shift commander and the jail officer whether it

  6   warrants any medical attention.

  7            Q.    Okay.     So I know that we've talked

  8   about constant observation while at the Jamestown

  9   jail.    What other levels of observation are there?

 10   Is there, like, every hour -- is it, like, hourly

 11   or --

 12            A.    So we have an M block, which would just

 13   be, like, a cell with a bathroom, a sink and

 14   whatnot that we -- we do have cameras for.                   The

 15   physical checks are every 30 minutes for those.

 16            Q.    And what's the -- the purpose -- what's

 17   the purpose of the checks, just to identify --

 18            A.    To make sure, like, you know, a person

 19   didn't have a -- like, an unknown medical emergency

 20   or -- you just never know.             Sometimes people are

 21   unpredictable and you screen them and they're fine,

 22   but later on, maybe they're not doing as good.

 23            Q.    And have you -- have you experienced


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  1   that, where an inmate at one point -- or an inmate

  2   or suspect at one point is -- you know, they come

  3   in and, you know, like you said, they're doing okay

  4   and then, over the course of the night, they get

  5   worse and worse?

  6            A.    I can't say that I've taken somebody,

  7   like, out of the normal block and placed them on

  8   constant watch later, but yeah, I have seen, like,

  9   situations change in people that were already being

 10   watched.

 11            Q.    And what is -- is there a certain

 12   policy -- or policy and procedure that you follow

 13   to make adjustments to how you're supervising an

 14   inmate depending on their condition as it

 15   progresses throughout the time that hair there?

 16            A.    So like, if they're -- you mean, like,

 17   if they're, like, in the regular cells and you,

 18   like, see something changing?

 19            Q.    Yeah.

 20            A.    I mean, depending on what the situation

 21   was, you may want to place them on constant watch.

 22   If there's, like, a medical emergency, obviously,

 23   you'd call for help, things like that.


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  1            Q.    How is it determined if it -- if

  2   someone is on constant watch?            I know that you

  3   mentioned the different areas of the jail where

  4   someone in that category could be placed.                  How is

  5   it decided where they're placed?

  6            A.    Sometimes it's just the availability

  7   of, you know, what's not taken already.                 And

  8   sometimes, it's just your judgment.

  9            Q.    Is there -- is there any area where it

 10   would be for the -- is there any area within the --

 11   the jail that you described that allows for the

 12   highest level of supervision that you would put

 13   someone that is, like, really needs -- really

 14   requires -- yeah.        You can --

 15            A.    Yeah.     Like I said, you can see -- you

 16   can see everyone kind of the same when they're in

 17   any portion of the constant watch.              But I would say

 18   in the actual background room because it's in the

 19   same physical room would be, possibly, the best

 20   location to observe somebody, at least.

 21            Q.    And if someone is -- is in that area in

 22   the booking room, how are they generally restrained

 23   if --


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  1            A.    I believe it would be the leg shackle.

  2   Sometimes, people use a handcuff.              It's just based

  3   on the jailer's preference.

  4            Q.    Which -- which method of restraint,

  5   from your experiences, is best for someone that is

  6   on constant observation that is -- has, you know,

  7   harmed -- has harmed themselves, for example, by

  8   hitting their head off the wall or punching a wall

  9   or -- is it the ankle restraint or is it handcuffs

 10   or is there any sort of restraint that allows for

 11   the best supervision?

 12            A.    I would say either restraints aren't

 13   going to change the outcome of somebody that's

 14   doing any of that.        That's mainly a comfort thing

 15   for me, putting the leg shackle on versus the

 16   handcuff.

 17            Q.    Okay.     Okay.    Are -- are -- are there

 18   capabilities at the Jamestown booking to provide

 19   any suspects or inmates with medications or no?

 20            A.    No.     Not in the jail.

 21            Q.    Okay.

 22            A.    I mean, we do have, like, a medical kit

 23   with, like, bandages and things like that, but we


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  1   don't ever administer medicine unless the person

  2   actually came in with their own medicine and we --

  3   we do a thing with med verification.

  4            We'd call the pharmacy, and we do a med

  5   verification to verify that that's actually their

  6   medicine.     So in that case, we would give them the

  7   medicine, but it's not like we're providing it.

  8            Q.    Okay.     I want to shift gears, and I

  9   want to talk about any training or -- any training

 10   or experiences that you received regarding use of

 11   force.

 12            A.    Okay.

 13            Q.    What sort of training or experiences

 14   have you had with that?

 15            A.    So just like the continuum.               When I was

 16   in the Chautauqua County Sheriff's Academy and the

 17   levels of force that would be based on the given

 18   situation.

 19            Q.    Oh.     Jeez.

 20            MR. ZACCAGNINO:       I'm sorry.        The court's

 21   calling me, is there any way I can take a minute?

 22            THE WITNESS:      Sure.       That's fine.

 23            MR. ZACCAGNINO:       Sorry about that.


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  1            THE WITNESS:      It's okay.

  2

  3            (Whereupon, a recess was then taken.)

  4

  5            BY MR. ZACCAGNINO:

  6            Q.    Okay.     Officer, I know that -- I think

  7   where we left off is I was asking you about any

  8   training or experiences that you received in the

  9   use of force.

 10            A.    It would have been reviewed during the

 11   Chautauqua Sheriff's Academy and then my

 12   training -- additional training with the Jamestown

 13   Police Department.

 14            Q.    Okay.     And can you tell us generally

 15   what the -- what the use of force -- Use of Force

 16   Continuum is?

 17            A.    Yeah.     So it would go all the way from

 18   officer presence, and then it would build up from

 19   there all the way up to deadly force.

 20            Q.    And can you describe the different

 21   levels of resistance and then what sort of force

 22   can be used in response to each level?

 23            A.    Yeah.     So there's, like, passive


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  1   resistance.      There is -- there's, like, fighting.

  2            There is -- there is, like, somebody using,

  3   like, weapons against you.             You know, you can

  4   always use one step above for the Use of Force

  5   Continuum.

  6            Q.    And do you have any -- can you talk to

  7   us about any sort of training or experiences you've

  8   had in dealing with an inmate that is -- or I'm

  9   sorry -- a suspect that is either threatening self

 10   harm or acting out and harming themselves during

 11   the course of an arrest and how that relates to the

 12   use of force or what sort of force that you can use

 13   in that situation?

 14            A.    I guess it would depend on the

 15   situation.     It would depend on how the person is

 16   resisting, if they pose a threat to the officer or

 17   just themselves.       We would always try to use the

 18   lowest level of force to take that subject into

 19   custody and, you know, not cause injury.

 20            Q.    And if you have a suspect that is, for

 21   example, banging -- banging their head off the

 22   ground during the course of an address -- or during

 23   the course of an arrest, what sort of policies or


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  1   procedures do you go through in that situation to,

  2   you know, prevent them from continuing to do it and

  3   hurt themselves?

  4            A.    We do our best to restrain them and do

  5   our best to prevent them from hitting their head.

  6            Q.    And how do you do that?            Is it -- do

  7   you put your hand on -- you know, kind of press

  8   their head down on --

  9            A.    You kind of put their head, like,

 10   against the ground, so it's not really moving.

 11   You're not really putting a lot of force, but just

 12   enough so they couldn't hurt themselves further.

 13            Q.    And is there any sort of policy and

 14   procedure that you're aware of that applies to the

 15   situation where, during the course of an arrest, a

 16   suspect is self harming or threatening self harm

 17   and they're being transported to booking or to some

 18   other -- you know, some other area, whether it be

 19   the hospital or court or some other location that

 20   applies to make sure -- make sure they don't

 21   continue to hurt themselves during transport?

 22            A.    During the actual transport, the best

 23   we can do is restrain them with our wrist


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  1   restraints and then possibly use a seat belt to

  2   restrain them, but that's possibly the most

  3   difficult part, you know, to actually stop them

  4   from actively hurting themselves is during the

  5   transport.

  6            Q.    And what does that involve, the

  7   handcuffing?      Like, would it be -- I'm sorry.

  8            The seat belt.       Would the seat belt lock in

  9   place and just prevent the inmate from thrashing

 10   around or --

 11            A.    No.     It still wouldn't prevent because

 12   it's not, like, a head restraint.              So I mean, it

 13   would just, maybe, limit their movement slightly,

 14   but probably not enough to do much.

 15            Q.    Are there -- are there any -- any other

 16   options available for that situation other than,

 17   you know, wrist restraints and then possible seat

 18   belt?    You know, is there any -- are there any

 19   other precautions that are taken for that

 20   situation?

 21            A.    Not that I've ran into.

 22            Q.    Okay.     Have you ever experienced a

 23   situation where, during transport, a suspect is


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  1   harming themselves and then you pull over and

  2   reposition them in the back of the vehicle or do

  3   anything similar to prevent self harm or --

  4            A.    I don't think there's ever been a time

  5   where I've actually had to stop a vehicle, but I

  6   mean, I've had people, like, hit their head in the

  7   back of a car during a transport, yes.

  8            Q.    Is that in -- if -- if it was

  9   determined that, you know, if you felt that you

 10   needed to stop and readjust an inmate to prevent

 11   from self harm, is that an option?

 12            A.    You could, but I -- I guess it would

 13   all depend on, like, what -- what are you going to

 14   be able to change if you get out of the car and

 15   what are you going to be able to do to prevent

 16   that.

 17            Q.    Okay.     So on December 10th of 2020, you

 18   were working for the City of Jamestown police,

 19   right?

 20            A.    Yes.

 21            Q.    Were you working on that night -- or on

 22   that day, December 10, 2020?

 23            A.    Yes.


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  1             Q.      What shift did you work on?

  2             A.      Night shift, 11:00 p.m. to 7:00 a.m..

  3             Q.      And who -- what officers were working

  4   with you on the night shift?

  5             A.      To my recollection, it would be myself,

  6   Officer Wise, Officer Obergfell, Officer Johanson.

  7   Then -- then Officer Schimek, now Sergeant Schimek,

  8   and then Lieutenant Ward.

  9             Q.      And what was -- what was your -- what

 10   was your assignment that day?                Were you on road

 11   patrol or were you at the jail?

 12             A.      City jail.

 13             Q.      Okay.     I just want to go through some

 14   policies quickly with you.                And the main question I

 15   have for them is if you recognize it and if -- and

 16   if, to your knowledge, the policy was in effect on

 17   the day of the incident.

 18             And then I'll go through the incident

 19   itself.        Okay?

 20             A.      Okay.

 21             Q.      Okay.     Okay.    So I'm showing you -- I

 22   have it marked as Plaintiff's Exhibit A.                     It's

 23   policy number 1.11.01; subject, use of force.


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  1            Could you -- so the two questions I have was

  2   if you've seen this before and if it was the -- if

  3   this policy was in effect on the day of the

  4   incident or on December 10 of 2020.

  5            A.    At some point during my training, I'm

  6   sure I have reviewed that.              I couldn't tell you if

  7   that was the same policy that was in effect on that

  8   date, but I would -- I would assume it would be.

  9            Q.    Okay.      Yeah.     And at the bottom, the

 10   bottom-left corner, which is on page 3 of this

 11   exhibit, it has the -- the different revised dates.

 12            So I don't know if that helps, too, but --

 13            A.    Okay.

 14            Q.    Okay.      What about number -- or

 15   Plaintiff's B.         This is policy number 2.02.12.               And

 16   it says, psychiatric evaluation and transports.

 17   Have you seen this before and was this -- was this

 18   policy in effect on December 10 of 2020?

 19            A.    Yeah.      At some point during my

 20   training, I would have reviewed this, and it

 21   appears to be a policy that was in effect.

 22            Q.    And then I have Plaintiff's C, which is

 23   policy number 4.02.05.            And then it says, prisoner


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  1   custody transport and treatment.               Have you seen

  2   this before and was this policy in effect on

  3   December 10 of 2020?

  4             A.     At some point in my training, I'm sure

  5   I've reviewed this and it appears to be what was in

  6   effect.

  7             Q.     And I have Plaintiff's Exhibit D, I

  8   believe.       And this is -- this is policy number

  9   4.05.01, suicide prevention program development.

 10   Have you seen this policy and was it in effect on

 11   December 10 of 2020?

 12             A.     Yes.    During the course of my training,

 13   I've reviewed this, and it appears to be the one

 14   that was effective.

 15             Q.     Okay.     And then I'm looking at policy

 16   number 4.05.08.          And it's suicide prevention

 17   program referrals of prisoners for mental health

 18   and medical health service.              Have you seen this

 19   before and was it in effect December 10, 2020?

 20             A.     Yes.    It would have been reviewed

 21   during my field training and, at some point, I

 22   looked at it.       And it would have been -- appears to

 23   be effective during that time.


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  1             Q.   Okay.     So I wanted to ask you, just

  2   generally, what your interactions were with

  3   Christian on December 10 of 2020 from start to

  4   finish.

  5             And then I can kind of jump in and ask you

  6   some questions about it and kind of break it down

  7   if we need to.

  8             So I was wondering if you could just tell us

  9   about your interactions with him on December 10th

 10   of 2020.

 11             A.   Yeah.     So I believe it was around 3:28.

 12   He came into the Jamestown city jail.                   He was

 13   verbally combative.        I guess one of the officers on

 14   scene had requested EMS evaluate him for something

 15   that happened on scene.

 16             And a couple minutes later, I believe it was

 17   ALSTAR arrived into the jail.            They attempted to

 18   evaluate Christian, and he refused any -- you know,

 19   he didn't -- he wouldn't cooperate, and he was just

 20   verbally combative the whole time.

 21             Q.   And so what -- what other observation

 22   did you have of him that night?

 23             A.   I mean, I was with him the entire night


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  1   from the time where he arrived in the jail until

  2   the time he -- until the time I ended my shift.

  3            So he was placed right in front of me on the

  4   booking bench just because 9.41 had been completed

  5   by an officer on scene and he had to be on constant

  6   watch.    So he was with me for the entire --

  7            Q.    And can you describe his -- his

  8   behavior over the course of the night?

  9            A.    It would change.        There would be times

 10   where he was called and there would be times where

 11   he was upset, I would say.

 12            Q.    Did he make any -- any threats of self

 13   harm or say that he wanted to die or give any other

 14   suicidal ideation over the time period when you

 15   were supervising him?

 16            A.    I can't recall.         But as I said, he was

 17   already on the 9.41 order, so he was already, you

 18   know, at the highest level of constant watch that

 19   we could place him.

 20            Q.    And were you aware or is it your

 21   understanding that -- well, I'm sorry.

 22            I should ask you this:          Is it your -- was it

 23   your understanding on that night that, at the


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  1   scene, Christian was banging his head off the

  2   ground?        Did you know that when you were

  3   supervising him?

  4             A.      I can't recall whether I knew that or

  5   not.    I did, you know, see that he had some -- a

  6   little scrape on the side of his head, and that's

  7   all I could remember.         I don't really recall

  8   whether, you know, how that actually occurred.

  9             Q.      And then what about on -- in transport

 10   from 111 Barrett, which, from my understanding, is

 11   where he was arrested to -- until the time he was

 12   brought into booking?

 13             Is it your understanding that he -- that,

 14   during transport, he was bashing his head off the

 15   inside of the -- of the patrol car?

 16             A.      It's my understanding now.            I cannot

 17   say whether or not I knew that when he came in, but

 18   that is my understanding now.

 19             Q.      And then was it your understanding

 20   that, when he was taken from the patrol car and

 21   brought inside, so from the time he was taken out

 22   of the car and then actually brought into booking,

 23   that he was hitting his head on the -- the -- I


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  1   think it was the trunk of the patrol car?

  2            A.    Yeah.     I do remember that.

  3            Q.    And is that something that you knew

  4   about from the -- from the time you first got there

  5   until the end of your shift at 7:00 a.m.?

  6            A.    Yes.    I did know.

  7            Q.    And then can you tell us about any time

  8   throughout the night where he harmed himself,

  9   whether it be, you know, punching -- you know,

 10   punching the bench or banging his head off the wall

 11   or, you know, anything similar to that?

 12            A.    I'm aware of an incident at -- around

 13   6 -- 6:20, I believe, where he hit his head off the

 14   wall, yes.

 15            Q.    And then what happened -- what happened

 16   in response to that, him hitting his head off the

 17   wall?

 18            A.    Once he hit his head off the wall, he

 19   fell off of the booking bench and then kind of

 20   started grunting.        And I called for EMS almost

 21   right away.

 22            Q.    Can you tell us about how he was

 23   restrained from the time, I guess, when you first


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  1   started observing him until -- until the end of

  2   your shift?

  3            A.    The first restraint that he was given

  4   by me was the leg shackle, and that was the only

  5   restraint that I'm aware of that was utilized on

  6   him.

  7            Q.    Did he end up kicking off the ankle

  8   restraint at some point or breaking it?

  9            A.    I vaguely remember that.

 10            Q.    And was there -- was there anything

 11   done in response to that as far as, you know,

 12   providing -- you know, taking additional

 13   precautions to, you know, react to his behavior or

 14   was he just -- he just remained on constant

 15   observation?

 16            A.    I think it was just kind of like an

 17   impulsive thing on his behalf, so he just allowed

 18   me to put the leg shackle right back on.                 And my --

 19   from what I remember, it wasn't broken, and that

 20   was just that.

 21            Q.    And do you -- did he, at any point

 22   throughout the night at booking, talk about himself

 23   having PTSD?


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  1            A.    Yes.

  2            Q.    And what was he saying about it?                Did

  3   he just say he was -- he was having an episode or

  4   what was he -- what was he saying?

  5            A.    I recall he said that he hasn't slept

  6   in days and he was just basically upset over his

  7   lost relationship and his kids, as well.

  8            Q.    And was there anything done in response

  9   to that other than what we've already talked about

 10   as far as additional precautions taken or did he

 11   just remain as -- as he was?

 12            A.    Yeah.     He was still at the highest

 13   level of constant watch, and he remained.

 14            Q.    And I think you said, over the course

 15   of the night, you do not recall whether or not he,

 16   Christian, said he wanted to hill himself or not?

 17   You just know he was on constant observation?

 18            A.    I know he said a lot of things, but I

 19   can't recall exact phrases that he used.

 20            Q.    Okay.     And who was mainly assigned to

 21   supervise him while he was in booking from the time

 22   he got in there until the time of the arraignment?

 23   Was it yourself or was there other people within


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  1   the facility as well?

  2            A.    So for -- when he came in, which was

  3   around 3:30 to -- I was relieved, I believe, around

  4   6:50 a.m..     My shift technically ends at seven, but

  5   we're usually relieved a little earlier.

  6            So the arraignment doesn't happen until

  7   around nine 9:30 in the morning.             So he would have

  8   been observed by somebody between 6:50 and whenever

  9   his arraignment occurred.

 10            Q.    And over the course of the night when

 11   you were supervising him, did he make any requests

 12   to go to the hospital or get a mental health

 13   evaluation that you remember?

 14            A.    I remember that he had complained about

 15   his face and his hands, but that was, like,

 16   immediately after EMS had just left and he just

 17   refused services.

 18            Q.    And did you -- did you observe him on

 19   that -- at any point throughout the night smashing

 20   his hands down on the bench?

 21            A.    I can't recall whether he smashed his

 22   hands off the bench or not.            It wouldn't be out of

 23   the realm of possibility, but it wouldn't be


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  1   something that I could say for sure he did.

  2            Q.    Did you observe him at any point

  3   punch -- punch walls over the course of the night?

  4            A.    Not specifically that I can recall.

  5            Q.    Was there any point in the night when

  6   he -- that you observed him yank the phone off the

  7   wall?

  8            A.    Again, I can't really say whether he

  9   did that or not.

 10            Q.    And I mean, how did he seem like his --

 11   his -- and I know that you're not, you know, a

 12   mental health expert, but just based on your

 13   observations of him, over the course of the night

 14   when you were observing him, how did his condition

 15   seem like it was getting?

 16            Did it seem like it was getting worse or did

 17   it seem like it was getting better?               Was it going

 18   up and down?      Can you just describe that?

 19            A.    There would be times when he seemed

 20   fine and, you know, conversing with me about -- you

 21   know, just normally.         And then there would be times

 22   where he was just clearly upset.

 23            Q.    Was that concerning at all to you, that


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  1   he was up and down?

  2            A.    I mean, it's something that we deal

  3   with quite often with people and them being

  4   unpredictable, but I mean, I was doing my best to

  5   just, you know, keep him from being -- you know,

  6   try making him calm is what I was trying to do.

  7            Q.    Yeah.     Did he, at any point throughout

  8   the night, tell you that he was -- or that he

  9   wanted to jump head first off the bench?                 Do you

 10   remember that?

 11            A.    I don't remember those -- that exact

 12   phrase being used.        Like I said, he was already on

 13   constant watch, and he was already at the highest

 14   level of supervision that I could provide to him.

 15            And whether he made that statement or not,

 16   it wouldn't have changed his, you know, level of

 17   supervision just by saying that.

 18            Q.    Okay.     And I mean, it seemed like at

 19   times from looking at the video that it seemed like

 20   he was ranting -- that he was, like, ranting and

 21   raving about his situation.            Is that something that

 22   you observed?

 23            A.    Yeah.     I just remember him speaking of


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  1   being, like, you know, his ex and upset about his

  2   ex and his kids and, you know, that he hadn't slept

  3   and whatnot.      Those are basically the only things I

  4   can recall.

  5            Q.    Was he -- over the course of time when

  6   you were observing him at booking, did you -- or

  7   was he ever put in a restraint chair?

  8            A.    No.

  9            Q.    What was the reasoning for not putting

 10   him in the restraint chair?

 11            A.    I mean, usually, you put somebody in

 12   the restraint chair when they're continually, you

 13   know, harming themselves.

 14            But the way he was is he would, you know,

 15   maybe be upset for a moment and then he would,

 16   like, calm right back down.

 17            So like, the reasoning would -- you know,

 18   would be kind of over by the time, you know, you

 19   put him in there.        And he was already calm by the

 20   time you were ready to do that, so --

 21            Q.    Do you -- did he, at any point, mention

 22   to you that -- that, basically, that he wanted

 23   officers to choke him or tase him or anything?


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  1   Is that something you remember him saying to you?

  2            A.    No.     I don't remember him saying that.

  3            Q.    Did he, at any point, let you know that

  4   he -- and I don't know if he actually did or

  5   didn't, but that he had an appointment to see a

  6   psychiatrist that was coming up or it might have

  7   been the following day or anything?

  8            Did he mention that to you?

  9            A.    I can't -- I can't specifically

 10   remember him mentioning an appointment.

 11            Q.    Was he, at points in the night, you

 12   know, crying?        You know, was he -- yeah.           Like, was

 13   he crying throughout the night?

 14            A.    I do remember, at least at one point,

 15   he was crying, yes.

 16            Q.    Do you -- do you -- or I'm sorry.                Was

 17   there any point in the night when he was --

 18   Christian was, like, almost hanging -- hanging off

 19   the bench and moaning and just kind of acting

 20   incoherent that you can recall?

 21            A.    Yes.     When he hit his head off the

 22   wall, he kind of fell off of the bench, and that's

 23   when EMS was called for the second time.


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  1            Q.    And it seemed like -- you know, I know

  2   that you -- that you talked about how maybe --

  3   maybe you weren't aware of every -- every time

  4   prior to him coming into booking that he hit his

  5   head off the ground or hit his head on the patrol

  6   car or hit had off the divider in the car, but when

  7   you were supervising him, did you have an

  8   understanding that he -- he had a tendency to do

  9   things like that, you know, like self-harming

 10   activities and hitting his head off walls and

 11   things like that?

 12            A.    I know he was kind of unpredictable.

 13            Q.    And you know, from what it sounds like,

 14   you at least had knowledge of a few different

 15   occasions of where -- prior to him coming to

 16   booking, where he -- where he was banging his head

 17   off things; is that fair?

 18            A.    Like I said, I couldn't really recall

 19   whether or not he was -- I mean, I do remember

 20   something about him hitting his head off the patrol

 21   car, but I really don't know -- I didn't know at

 22   the time all the details on scene, no.

 23            Q.    Okay.     Okay.    And was there -- was


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  1   there any sort of process where, when Christian

  2   first got to booking, where you were kind of

  3   brought up to speed of everything that happened

  4   from the time that he was arrested until he was

  5   first under your supervision?

  6            A.    At some point, I would have been

  7   notified by one of the transporting officers that

  8   he was on constant watch or to be on constant watch

  9   due to his 9.41 status.         That's all I would know.

 10            Q.    Okay.     So you wouldn't really get a

 11   background of why he's on constant watch?                  You

 12   would just know he was on constant watch?

 13            A.    I'm sure that information could have

 14   been available to me, but I just couldn't tell you

 15   whether or not I knew all the details at the time.

 16            Q.    Okay.     Did it cross your mind at all

 17   throughout the night that, you know, Christian's on

 18   constant observation, but his behavior is just --

 19   oh.   Can you hear me?

 20            A.    Yes.

 21            Q.    Okay.     Did it cross your mind at all

 22   that Christian's behavior was just escalating and

 23   that he needed more than just constant observation,


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  1   he needed -- you know, he needed help outside of

  2   booking?      Did that ever cross your mind throughout

  3   the night?

  4            A.     I wouldn't say his condition really

  5   escalated.      It was kind of, you know, up and down

  6   throughout the night.

  7            And again, he was already given the highest

  8   level of watch that I could provide him in the

  9   jail.    And he was already given a 9.41 referral for

 10   when he was leaving the jail to be evaluated for

 11   that.

 12            Q.     And that -- and that would have been

 13   after -- after his arraignment, whenever that was?

 14            A.     Yes.

 15            Q.     Okay.     And did you have any involvement

 16   in the incident that took place after his

 17   arraignment when he was put in the restraint chair

 18   or is that -- you were off by that point?

 19            A.     No.     That would have been another

 20   shift.

 21            Q.     Okay.     Okay.    And is it fair to say

 22   that Christian was on constant watch at -- at

 23   booking and, other than constantly observing him


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  1   and restraining him to the bench, there really

  2   wasn't anything further done as far as giving him a

  3   helmet or, you know, putting him in a restraint

  4   chair or trying to hold his head to make sure he

  5   wouldn't bash his head on the wall from the time

  6   that you -- that you first started supervising him

  7   at booking until the end of your shift?

  8            MS. D'AGOSTINO:       Objection.       You can answer

  9   if you understand the question.

 10            THE WITNESS:      Well, we don't have helmets

 11   available in the Jamestown city jail.                   Holding

 12   someone's head for the entirety of a shift would

 13   not be anything that we would ever partake in.

 14            And as far as the restraint chair, he

 15   didn't -- he hadn't bashed his head on the wall

 16   prior to the incident that was at 6:20, I believe.

 17            So I believe that was the first time that he

 18   did anything that was actually physically harming

 19   himself.

 20

 21            BY MR. ZACCAGNINO:

 22            Q.    And is it -- is it -- you know, it's

 23   all in the videos.        I'm sure we could refer back to


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  1   it, but -- but that may have been within the time

  2   frame when you first started observing him at

  3   booking until the end of your shift so that you

  4   said he -- from your memory, he hit his head off

  5   the wall at 6:25?

  6             A.      6:20, I believe.     Yeah.

  7             Q.      And is it possible, just based on your

  8   understanding that he was -- from the time he first

  9   got to booking until the 6:25, that he was

 10   threatening self harm?

 11             A.      He very well may have been.

 12             Q.      When you observed him at booking, what

 13   sort of medical care did he get?             So I know that

 14   you mentioned, when he first got there, EMS was

 15   called.        But what other care did he get over that

 16   time frame when you were observing him at booking?

 17             A.      EMS was called.      And like I said, that

 18   was when he -- almost when he first entered the

 19   city jail.        And the purpose of that was for him to

 20   be evaluated to see whether or not he needed any

 21   care, and he was highly uncooperative with EMS.

 22             Q.      And then the second time was when he

 23   hit his head off the wall?


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  1            A.    Yes.    At 6:20.

  2            Q.    Okay.     Does -- does UPMC have more

  3   capabilities regarding dealing -- treating mental

  4   health conditions than Jamestown booking?

  5            MS. D'AGOSTINO:       Objection.       You can answer

  6   if you know?

  7            THE WITNESS:      I would say yes.             UPMC would

  8   definitely have more of a capability to -- we don't

  9   have any mental health services in the jail.                    We do

 10   suicide screenings.

 11

 12            BY MR. ZACCAGNINO:

 13            Q.    And does UPMC have better capabilities

 14   regarding restraining someone that might harm

 15   themselves as far as, you know, maybe giving them a

 16   medication that might sedate them or restrain them

 17   to a hospital bed or -- you know, did they have

 18   more capabilities than at Jamestown booking?

 19            A.    Well, we can't medicate someone in the

 20   jail, so I would assume the hospital would have

 21   more capabilities as far as medication.

 22            Q.    I just want to quickly go through some

 23   exhibits, and I could really short circuit it and


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  1   just ask you whether or not -- or I'm sorry -- ask

  2   you about the exhibits that you -- that you

  3   prepared.

  4            And I just want to know if it's an accurate

  5   copy of it, of -- you know, whatever the document

  6   is.   So just give me one minute.

  7            Okay.     So -- okay.       So I'm showing you --

  8   this is -- I believe we have it marked as

  9   plaintiff's F, but just for the record, it's --

 10   there's an E on the top of it, and it's got

 11   Jamestown Police Department.             And it has the case

 12   number on the top of it.

 13            Do you recognize this document here?

 14            A.      I recognize it as a report that was

 15   completed by another officer that --

 16            Q.      Okay.     Okay.    And you didn't prepare

 17   it, right?       This was prepared by a different

 18   officer?

 19            A.      Yes.

 20            Q.      Does it appear to be a fair and

 21   accurate copy of this report or do you not know it

 22   well enough to say one way or the other?

 23            A.      I'm not familiar enough with the


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  1   report.

  2             Q.   Okay.      I want to show you -- I'm -- I

  3   think this was marked as plaintiff's -- there's --

  4   it looks like there's a G at the top, and it's got

  5   document 14-5.         Do you recognize this document

  6   here?

  7             A.   Yes.

  8             Q.   Did you prepare this?

  9             A.   Yes.

 10             Q.   Oh.      Okay.     And -- and does it appear

 11   to be a fair and accurate copy?

 12             A.   Yes.

 13             Q.   Okay.      I want to show you what's --

 14   there's -- there's an H on the top, and it has

 15   document 14-5 again.            And it's got case file number

 16   1044 on the top-left corner.

 17             Do you recognize this document?                Is this the

 18   same one we just looked at or no?               I think this

 19   might be different.

 20             A.   That's the second incident.

 21             Q.   Oh.      Okay.     Did you prepare this?

 22             A.   Yes.

 23             Q.   Okay.      And is it -- does it appear to


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  1   be a fair and complete copy?

  2            A.      Yes.

  3            Q.      Okay.     And I'm showing you -- I'm not

  4   sure what exhibit it was, but there's an I at the

  5   top, and it's got case file number 1018, document

  6   number 16-1 at the top.            And it's got 9.41 UOF

  7   under incident type.

  8            Do you recognize this document here?

  9            A.      I see that it's a report that was

 10   completed by another officer with no -- I don't

 11   have any direct involvement in.

 12            Q.      Okay.     Okay.    Okay.     I'm almost done.

 13   Let me see.       Okay.     We already went over that.

 14            Okay.     Do you -- can you tell us if you

 15   agree or disagree that if -- that, if Christian was

 16   in the restraint chair, it would have prevented him

 17   from banging his head off the wall that night?

 18            A.      I could say we do a restraint chair for

 19   two-hour blocks.          So it may have prevented him

 20   hitting his head for a short period of time, but

 21   not for the entirety of his confinement, no.

 22            Q.      Okay.     Did you review anything to

 23   prepare for today, any documents or anything?


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  1            A.    Yes.     I reviewed my reports, and then I

  2   also reviewed some of the jail footage.

  3            Q.    Okay.     Is there -- is there a

  4   discipline file that is kept for each officer at

  5   Jamestown -- for Jamestown police?

  6            A.    Yes.

  7            Q.    Have you ever had any discipline filed

  8   against you or any complaints filed against you?

  9            A.    Never.     Nothing.

 10            Q.    Okay.     Okay.     You know, I know it's

 11   been three years since -- almost three years since

 12   this -- yeah.      Almost three years.

 13            In your review of the footage and, you know,

 14   looking back on it, would you have handled it any

 15   differently in -- you know, looking back at it now?

 16            MS. D'AGOSTINO:         Objection.     Improper

 17   hypothetical.      You can answer if you understand the

 18   question.

 19            MR. RAIMONDO:       You can answer if you

 20   understand it.

 21            THE WITNESS:      Like I said, I mean, I think I

 22   did everything the same as I would do it now.                   It's

 23   just he was unpredictable.


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  1            And he didn't -- he didn't continue to do

  2   something that was self injurious for an extended

  3   period of time that would warrant me putting him in

  4   the restraint chair.

  5            And even if we did utilize the restraint

  6   chair, that would be for a two-hour block, and

  7   that's not going to prevent him from hitting his

  8   head.    I mean, if he really wanted to.

  9            MR. ZACCAGNINO:         Okay.     I appreciate your

 10   time.    That's all I have for you.              Mary and Elliott

 11   might have some follow-ups, but I'm thankful for

 12   your time and patience.           Thank you.

 13            THE WITNESS:      I appreciate it.

 14            MS. D'AGOSTINO:         Officer, I just have a

 15   couple questions, but do you need a break before we

 16   get started?      Do you need to use the bathroom or

 17   anything?

 18            THE WITNESS:      No.     I'm okay.

 19

 20            EXAMINATION BY MS. D'AGOSTINO:

 21

 22            Q.    Okay.     So on December 10th, 2020, you

 23   were working as a jailer for the police department,


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  1   correct?

  2            A.    Yes.

  3            Q.    Were you permitted -- are jailers

  4   permitted to leave the facility on their shift?

  5            A.    Not if you have a person that's under

  6   constant watch.

  7            Q.    And on December 10th, 2020, you had

  8   someone that was under constant watch, correct?

  9            A.    Yes.

 10            Q.    So you wouldn't have been able to leave

 11   the facility?

 12            A.    No.     Not unless I was given relief,

 13   temporary relief.

 14            Q.    And you didn't respond to the initial

 15   warrant arrest, did you?

 16            A.    No, I did not.

 17            Q.    So you weren't present when the

 18   officers took Mr. Powell to the ground?

 19            A.    No.

 20            Q.    At any point on the morning of December

 21   10th, 2020, did you use physical force on

 22   Mr. Powell?

 23            A.    No.


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  1            Q.    So you didn't use any hand strikes on

  2   Mr. Powell?

  3            A.    No.     The highest level of anything

  4   would just be the leg shackle that I had placed on

  5   him.

  6            Q.    Okay.     Did he give any indication to

  7   you that that leg shackle was too tight?

  8            A.    No.     Not that I'm aware of.

  9            Q.    In your -- in your opinion, given

 10   Mr. Powell's demeanor, would it have been excessive

 11   for him to have been placed in a restraint chair on

 12   December 10th, 2020?

 13            A.    Well, based on -- based on my feelings

 14   for, you know, the incident, I didn't believe that

 15   a restraint chair would be warranted, and he didn't

 16   show any continued signs that would cause me to put

 17   him in a restraint chair, no.

 18            Q.    And at -- on the morning of December

 19   10th, 2020, why did you call EMS at 6:20?

 20            A.    He hit his head off the wall.

 21            Q.    Is it fair to say at the point when you

 22   perceived his behavior was escalating that you

 23   called for medical attention?


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  1            A.    I recognized that he needed medical

  2   attention at that time.

  3            Q.    Prior to calling for EMS at that point,

  4   did you believe that Mr. Powell needed medical

  5   attention?

  6            A.    Not prior, no.

  7            Q.    And were you present when EMS was

  8   called the first time during the 3:00 a.m. hour?

  9            A.    Not for the call, just for the

 10   response.

 11            Q.    And Mr. Powell wasn't cooperative with

 12   EMS, correct?

 13            A.    Correct.

 14            Q.    Even if Mr. Powell wasn't cooperative

 15   with EMS at that point, if they felt he needed

 16   additional medical attention, would he have been

 17   permitted to go with EMS?

 18            A.    Yes.

 19            Q.    And were you present during the

 20   six-o'clock hour when Mr. Powell was removed from

 21   the facility by James -- Jamestown Fire Department?

 22            A.    Yes.    That would have been right at the

 23   end of my shift.       I believe the Faulkner Fire


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  1   Department did the transport, but the Jamestown

  2   Fire Department was there for the evaluation as

  3   well.

  4            Q.    Okay.     Other than the restraints that

  5   you played on Mr. -- that you placed on Mr. Powell,

  6   did you have any other physical contact with him?

  7            A.    No.

  8            Q.    Did you observe any other officer

  9   having physical contact with Mr. Powell?

 10            A.    No.

 11            MS. D'AGOSTINO:        Okay.       No further

 12   questions.

 13            MR. ZACCAGNINO:        That's all I have, and

 14   everyone's probably really sick of hearing my voice

 15   all day.

 16            (Deposition concluded at 4:31 p.m.)

 17                               *    *      *

 18

 19

 20

 21

 22

 23


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  1                             ERRATA SHEET

  2

  3   PAGE         LINE

  4                                 CHANGE:

  5                                 REASON:

  6                                 CHANGE:

  7                                 REASON:

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  1           I hereby CERTIFY that I have read the

  2   foregoing 57 pages, and that they are a true and

  3   accurate transcript of the testimony given by me in

  4   the above entitled action on August 16, 2023.

  5

  6

  7                                   -----------------------
                                       Mark Conklin
  8

  9   Sworn to before me this

 10

 11   -------- day of        ---------, 2023.

 12

 13   --------------------------

 14   NOTARY PUBLIC.

 15

 16

 17

 18

 19

 20

 21

 22

 23


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  1   STATE OF NEW YORK)

  2                            ss:

  3   COUNTY OF ERIE)

  4

  5           I DO HEREBY CERTIFY as a Notary Public in and

  6   for the State of New York, that I did attend and

  7   report the foregoing deposition, which was taken

  8   down by me in a verbatim manner by means of machine

  9   shorthand.     Further, that the deposition was then

 10   reduced to writing in my presence and under my

 11   direction.     That the deposition was taken to be

 12   used in the foregoing entitled action.                  That the

 13   said deponent, before examination, was duly sworn

 14   to testify to the truth, the whole truth and

 15   nothing but the truth, relative to said action.

 16

 17

 18
                                     --------------------------
 19                                  PATRICK MCLAUGHLIN,
                                     Notary Public.
 20

 21

 22

 23


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